             Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 1 of 12 PageID #: 7

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 21SL-CC00148
 JOHN N. BORBONUS III
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 BARBARA MUHAMMAD                                               JUSTIN KENT SUMMARY
                                                                4542 WEST PINE BOULEVARD
                                                          vs.   SAINT LOUIS, MO 63108
 Defendant/Respondent:                                          Court Address:
 MENARD INC                                                     ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Other                                           CLAYTON, MO 63105                                                   (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: MENARD INC
                                      Alias:
  221 BOLIVAR ST.
  JEFFERSON CITY, MO 65101


        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        13-JAN-2021                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       MT
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                  Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.

OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-362        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150
                                                                                                                                                      A RSMo
             Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 2 of 12 PageID #: 8
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-362   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 3 of 12 PageID #: 9
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-362   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                                  Electronically Filed - St Louis County - January 13, 2021 - 12:52 PM
 Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 4 of 12 PageID #: 10
                                                                              21SL-CC00148

               IN THE CIRCUIT COURT FOR THE COUNTY OF ST. LOUIS
                               STATE OF MISSOURI

BARBARA MUHAMMAD                             )
                                             )
       Plaintiff,                            )      Cause No.________________
                                             )
       V.                                    )
                                             )
MENARD, INC                                  )
D.B.A. MENARDS                               )
      Serve at:                              )      Div. No. _______
                                             )
Lawyers Incorporating Service Co.            )
221 Bolivar St.                              )
Jefferson City, MO 65101                     )
                                             )
       DEFENDANT                             )
                                             )


                            PETITION FOR PERSONAL INJURY

       COMES NOW Barbara Muhammad by and through her attorney, Justin Summary, and

for her cause of action states as follows:


   1. Plaintiff Barbara Muhammad is a resident of the State of Missouri, County of St. Louis

       City.

   2. Defendant Menard Inc (d.b.a. Menards) is a corporation which owns and maintains the

       property located at 1700 S. Hanley Rd. in St. Louis, Missouri 63144.

   3. This cause of action occurred on or about the 18th day of October of 2018 when Plaintiff

       Barbara Muhammad suffered injuries after tripping and falling after her cart got hung up

       on an escalator inside the Mendards store located at 1700 S. Hanley Rd. in St. Louis,

       Missouri 63144.
                                                                                                    Electronically Filed - St Louis County - January 13, 2021 - 12:52 PM
 Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 5 of 12 PageID #: 11




   4. Venue in this matter is proper under V.A.M.S. §508.010.14 (2019).


                                  COUNT I- PREMISES LIABILITY

       All allegations contained in paragraphs 1-4 are hereby incorporated by reference into

Count I.


   5. On or about October 18th, 2018 Plaintiff was shopping at the Menards located at 1700 S.

       Hanley Rd. in St. Louis, Missouri 63144.

   6. Plaintiff was using a custom escalator inside the Menards store that allowed her to ride

       the escalator along with her shopping cart.

   7. Unbeknownst to Plaintiff, there was a dangerous condition present on the escalator in that

       the escalator created a trip hazard by allowing carts to get hung up at the bottom of the

       escalator and the escalator had no emergency stop button.

   8. As plaintiff reached the end of the escalator, her cart got hung up causing her to trip and

       fall.

   9. As plaintiff was lying on the moving escalator, a second customer was unable to stop his

       own cart and ran into plaintiff while she was on the ground.

   10. The dangerous condition of the escalator created a reasonably foreseeable risk of harm

       that someone would be injured by tripping over their cart upon it becoming stuck.

   11. Defendant had actual or constructive notice of the dangerous condition in sufficient time

       prior to plaintiff’s injury to have taken measures to protect against the dangerous

       condition.

   12. Plaintiff had no knowledge of the dangerous condition of the escalator nor was it

       reasonably discoverable.
                                                                                                       Electronically Filed - St Louis County - January 13, 2021 - 12:52 PM
 Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 6 of 12 PageID #: 12




   13. Defendant Menard Inc. was negligent in that defendant failed to maintain the escalator or

       to remove, remedy, or warn of the dangerous condition of the escalator.

   14. As a result of defendant’s negligence, plaintiff fell and sustained serious physical injuries

       to her hands, neck, shoulder, back and knees. She has incurred medical expenses in the

       past and will incur more in the future. She has undergone past medical treatment and will

       need more in the future. She has lost the quiet enjoyment of her life and now suffers

       from permanent physical pain and emotional suffering.

       WHEREFORE, Plaintiffs pray for a judgment against Defendant Menard Inc. in an

amount that is fair and reasonable, in excess of $25,000, together with interest and costs, and

such other and further relief as the court shall deem proper.




                                              THE SUMMARY LAW FIRM

                                              /s/ Justin Summary _____________
                                              Justin Summary Mo Bar #57439
                                              Attorney for Plaintiff
                                              4542 W. Pine Blvd.
                                              St. Louis, MO 63108
                                              (314) 361-5678 (Phone)
                                              (314) 828-8292 (fax)
                                              justin@summarylawfirm.com
                                                                                               Electronically Filed - St Louis County - February 04, 2021 - 11:36 AM
 Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 7 of 12 PageID #: 13




              IN THE CIRCUIT COURT FOR THE COUNTY OF ST. LOUIS
                              STATE OF MISSOURI

BARBARA MUHAMMAD                           )
                                           )
       Plaintiff,                          )
                                           )
       V.                                  )
                                           )
MENARD, INC                                )      Cause No. 21SL-CC00148
D.B.A. MENARDS                             )
      Serve at:                            )
                                           )
Lawyers Incorporating Service Co.          )
221 Bolivar St.                            )
Jefferson City, MO 65101                   )
                                           )
       DEFENDANT                           )
                                           )


                              REQUEST FOR ALIAS SUMMONS

       COME NOW the Plaintiff, by and through her attorney, and requests an alias summons to

be served on the following:

       Menard Inc
       c/o Lawyers Incorporating Service Co
       221 Bolivar St.
       Jefferson City, Mo 65101

       The summons is to be served on the above-defendant at the above-listed address or

wherever they may be found.
                                                                                 Electronically Filed - St Louis County - February 04, 2021 - 11:36 AM
Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 8 of 12 PageID #: 14




                                   THE SUMMARY LAW FIRM

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                                   Attorney for Plaintiff
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                                   St. Louis, MO 63108
                                   (314) 361-5678 (Phone)
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             Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 9 of 12 PageID #: 15

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 21SL-CC00148
 JOHN N. BORBONUS III
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 BARBARA MUHAMMAD                                               JUSTIN KENT SUMMARY
                                                                4542 WEST PINE BOULEVARD
                                                          vs.   SAINT LOUIS, MO 63108
 Defendant/Respondent:                                          Court Address:
 MENARD INC                                                     ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Pers Injury-Other                                           CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: MENARD INC
                                      Alias:
  LAWYERS INCORPORATING SERVICE CO
  221 BOLIVAR ST.
  JEFFERSON CITY, MO 65101

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
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                                        08-FEB-2021                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       GB
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
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           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-1102        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 10 of 12 PageID #: 16
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-1102   2   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 11 of 12 PageID #: 17
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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-1102   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
Case: 4:21-cv-00352-CDP Doc. #: 1-1 Filed: 03/19/21 Page: 12 of 12 PageID #: 18
